






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00750-CV






Lorie Manis, Dolores Barrett, and Adriana Gonzales/


Affiliated Computer Services, Inc., Appellants


v.


Affiliated Computer Services, Inc./Lorie Manis, Dolores

Barrett, and Adriana Gonzales, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT


NO. GN202410, HONORABLE PAUL DAVIS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N




	Appellants filed an Agreed Motion For Dismissal of Appeal and Remand to Trial
Court to Enter Agreed Dismissal advising that they have settled all disputes among them and no
longer desire to pursue this interlocutory appeal.  Appellants' motion seeks to have the appeal
dismissed in this Court and the case remanded to the district court so that any remaining matters may
be addressed and the settlement effectuated.

	The trial court granted an agreed appeal motion and signed on Order Granting
Interlocutory Appeal and Staying District Court Proceedings on December 5, 2003.  As the order
appealed from is interlocutory in nature, it is not necessary for this Court to order a remand.  See
Tex. R. App. P. 43.2.  We conclude that a dismissal of this appeal will accomplish the parties' goal. 
The court below may then effectuate the remainder of the parties' agreement.

	Therefore, on agreed motion, the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1), (2).



						__________________________________________

						Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed on Appellants' Motion

Filed:   March 25, 2004


